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UNITED STATES BANKRUPTCY COURT SOUTHERN DISTRICT OF TEXAS

 

MOTION AND ORDER
FOR ADMISSION PRO HAC VICE

 

HOUSTON 71 H 18-32106
lnRe= ERlN ENERGY CORPORAT|QN, et. al.

 

 

 

 

 

 

 

 

This lawyer, who is admitted to the state Bar of LOU'S'ANA

 

  
 
 
  
 
 
 

 

 

 

 

` LOU\S JEROME STANLEY

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Seeks to appear as the attorney for this party: ` mw J' Brad\ey, C,\erk of C<>Urt

 

ZEN|TH BANK PLC

Dated: June 12, 2018 . Sigued; o-¢.u.,¢ @W_,/@._Q¢?

 

 

 

 

COURT USE ONLY: The applicant’s state bar reports their stays (M/ 2 §§/L. .

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Dated: d //'3 / ('

 

 

 

 

 

 

Order

 

 

 

This lawyer is admitted pro hac vice.
Dated:

 

United States Bankruptcy Judge

